Case 2:02-cr-20165-BBD-tmp Document 626 Filed 09/02/05 Page 1 of 2 Page|D_ 883

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IN THE UNlTED sTATEs DISTRICT coURT D q
FoR THE wEsTERN DISTRICT oF TENNESSEE ""“ '
wESTERN DIvIsIoN 05 SEP -2 p" h, 18

 

UNITED STATES OF AMERICA,

Plaintiff

V.

ROBERT MURRAY BOHN,

Defendant.

No. 02-20165

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ORDER DENYING AS MOOT DEFENDANT’S
MOTION IN LIMINE TO EXCLUDE PLAINTIFF’S EXPERT WITNESS

Before the court is the motion in limine of Defendant Robert Murray Bohn to exclude

Plaintiff’S expert witness, for failure to comply with Rule lo(a)(l)(G) of the Federal Rules of

Criminal Procedure. Plaintiff has notified the Court that Plaintif`f will not attempt to use the expert

witness, Marc B. Sherrnan. Accordingly, Defendant’s motion is denied as moot.

IT ls so 0R1)ERED mingL day of §¢ am ,2005.

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UNCD STATES DIS'I`RICT JUDGE

 

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UNITED STATES DISTRIC= COURT- l WESTERN DISTRICT OF TENN]:E SSEE

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Honorable Bernice Donald
US DISTRICT COURT

